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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA


LIGTEL COMMUNICATIONS, INC.,

                        Plaintiff,

                  v.
                                               Case No. 1:20-cv-00037-HAB-SLC
BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH AMERICA
INC.,

                        Defendants.


          DECLARATION OF GABRIEL K. GILLETT IN SUPPORT OF
         PLAINTIFF’S RESPONSE BRIEF IN SUPPORT OF PLAINTIFF’S
                MOTION FOR PRELIMINARY INJUNCTION
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 38-2 filed 04/09/20 page 2 of 2


       GABRIEL K. GILLETT, of full age, hereby declares as follows:

       1.      I am an attorney-at-law of the State of Illinois and a partner in the firm of Jenner &

Block, LLP. Our firm is counsel of record for Plaintiff LigTel Communications, Inc., in the above-

captioned matter.

       2.      I submit this declaration in support of LigTel’s Reply in Support of Plaintiff’s

Motion for a Preliminary Injunction.

       3.      The exhibit numbers herein continue from my declaration filed in support of

LigTel’s Pre-Hearing Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction

(Dkt. 36-2).

       4.      Attached hereto as Exhibit 21 is a true and correct copy of a March 18, 2020 email

from Drew Greco at ATIS to Jesse Raasch, among others, regarding Baicells Migration Plan

Update (BAICELLS-000062663-68).

       5.      Attached hereto as Exhibit 22 is a true and correct copy of a December 10, 2019

email from Giancarlo D’Amico to Andy Yang re Alliance Cat6 / SIMS / 436Q (BAICELLS-

000007952-55).

       I declare under penalty of perjury that the foregoing is true and correct.


                                              /s/ Gabriel K. Gillett
                                              Gabriel K. Gillett

Dated: April 9, 2020
